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 6    Attorneys for Defendant
      COLLECTO, INC. dba EOS CCA
 7
 8                                 UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10                                                     )
      DAVID VACCARO,                                   ) CASE NO.:
11                                                     )
                           Plaintiff,                  )
12                                                     ) NOTICE OF REMOVAL
                     vs.                               )
13                                                     )
                                                       )
14    COLLECTO, INC. dba EOS CCA;                      )
      DOES 1-10 inclusive,                             )
15                                                     )
                           Defendant.                  )
16                                                     )
                                                       )
17                                                     )
                                                       )
18
19                   PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1446(a), Defendant
20    COLLECTO, INC. dba EOS CCA (“Defendant”) hereby removes to this Court the
21    civil action described below, as it involves a federal question.
22                   1.    On March 28, 2019, Plaintiff DAVID VACCARO (“Plaintiff”) filed a
23    civil action in the Los Angeles County Superior Court, Limited Jurisdiction,
24    entitled DAVID VACCARO v. COLLECTO, INC. dba EOS CCA; DOES 1-10
25    inclusive, Case No. 19STLC03058. A true and correct copy of Plaintiff’s
26    Complaint is attached hereto as Exhibit “A”.
27                   2.    Plaintiff’s Complaint was served on Defendant by personal service on
28    March 29, 2019.


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                                                                                NOTICE OF REMOVAL
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 1                   3.   Therefore this Notice of Removal is timely filed pursuant to 28 U.S.C.
 2    § 1446(b) within the 30-day removal period.
 3                   4.   There are no other Defendants named in Plaintiff’s Complaint.
 4                   5.   This action involves a federal question in that it arises under the Fair
 5    Debt Collection Practices Act (15 U.S.C. § 1692, et seq.) (the “FDCPA”). It is
 6    therefore an action of which this Court has original jurisdiction under 28 U.S.C. §
 7    1331 and may be removed to this Court by Defendant pursuant to the provisions of
 8    28 U.S.C. § 1441(a). In this regard, Plaintiff alleges that Defendant’s collection
 9    actions violated the FDCPA and the Rosenthal Fair Debt Collection Practices Act
10    (Cal. Civil Code § 1788, et. seq.)(the “RFDCPA”). (See Exhibit A.). This court has
11    supplemental jurisdiction over Plaintiff’s state law claim under the RFDCPA
12    pursuant to 28 U.S.C. § 1367.
13                   6.   Venue is proper in this district under 28 U.S.C. §1441(a) because this
14    district and division embrace the place where the removed action has been
15    pending.
16                   7.   Plaintiff’s Complaint does include a demand for a jury trial.
17                   8.   Defendant will promptly file a copy of this Notice of Removal with
18    the clerk of the State Court where the action has been pending.
19
                                                          CARLSON & MESSER, LLP
20
      DATED: April 24, 2019                         By:   s/ David J. Kaminski
21                                                        David J. Kaminski
                                                          Calvin W. Davis
22                                                        Attorneys for Defendant,
                                                          COLLECTO, INC. dba EOS CCA
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 1                                     CERTIFICATE OF SERVICE
 2
 3                   I hereby certify that on this 24th day of April, 2019, a true and accurate copy
 4    of the foregoing NOTICE OF REMOVAL was served via the District Court ECF
 5    on the following persons:
 6
 7
      Todd M. Friedman, Esq.
 8    tfriedman@toddflaw.com
 9    Adrian R. Bacon, Esq.
      abacon@toddflaw.com
10
      Law Offices of Todd M. Friedman, P.C.
11    21550 Oxnard Street, Suite #780
12    Woodland Hills, CA 91367
13                                                   CARLSON & MESSER LLP
14
                                                     /s/ David J. Kaminski
15
                                                     David J. Kaminski
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